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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

Y.R., as parent and Natural Guardian
of Minor Plaintiff, M.M.                   :       NO    18-CV-402 (SRU)
              Plaintiff                    :
                                           :
v.                                         :
                                           :
Yehudi Manzano,                            :
           Defendant                       :       June 11, 2018

                                         ANSWER


Count One

      1.     Admit.

      2.     Admit.

      3.     Admit.

      4.     Admit.

      5.     The plaintiffs are left to their proof.

      6.     The plaintiffs are left to their proof.

      7.     The plaintiffs are left to their proof.

      8.     Admit.

      9.     The plaintiffs are left to their proof.

      10.    Admit.

      11.    Admit.

      12.    The plaintiffs are left to their proof.

      13.    The plaintiffs are left to their proof.

      14.    The plaintiffs are left to their proof.

      15.    The plaintiffs are left to their proof.
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     16.      The plaintiffs are left to their proof.

     17.      The plaintiffs are left to their proof.

     18.      Denied.

     19.      Denied.

     20.      Denied.

     21.      Denied.

     22.      Denied.

     23.      Denied.

Count Two

     1-22. The previous answers are incorporated herein.

     23.      Denied.

Count Three

     1-22. The previous answers are incorporated herein.

     23.      Denied.

     24.      Denied.

Count Four

     1-22. The previous answers are incorporated herein.

     23.      Denied.

     24.      Denied.

                                                    The Defendant,
                                                    By:    /s/ Norman A. Pattis /s/
                                                         Bar No. ct13120
                                                         Pattis & Smith, LLC
                                                         383 Orange Street
                                                         New Haven, CT 06511
                                                         V: 203-393-3017;F:203-393-9745
                                                         npattis@pattisandsmith.com
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                                       CERTIFICATION



       This is to certify that on June 11, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of
the Court=s electronic filing system, and the undersigned did cause to be sent, via First
Class U.S. mail, postage prepaid, a copy of the foregoing to all counsel and pro se
parties that do not have access to the Court=s electronic filing system and to whom the
court directs the undersigned to send a hard copy via mail. Parties may access this
filing through the Court=s system.

                                                    By: /s/ Norman A. Pattis/s/
                                                            PATTIS & SMITH, LLC
